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                            EXHIBIT 6
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  PACIRA BIOSCIENCES, INC.,
                                                                  Civil Action No. ___________
                                  Plaintiff,
            v.                                             DECLARATION OF SCOTT M.
                                                                KREGER, M.D.
  AMERICAN SOCIETY OF
  ANESTHESIOLOGISTS, INC., et al.,

                                   Defendants.


I, Scott M. Kreger, M.D., do hereby declare:

       1.        I am over 18 years of age and have personal knowledge of the information

contained herein. I am a Board-certified anesthesiologist. I reside in Atlanta, Georgia and

currently serve as the Associate Chief of Anesthesiology at Emory Decatur Hospital. I received

my Medical Degree from the University of Miami Miller School of Medicine. I am not

receiving any compensation of any kind for this declaration.

       2.        As an anesthesiologist, I frequently use liposomal bupivacaine as a nerve blocking

agent in surgical patients, and have done so with great success. I find it particularly effective for

interscalene nerve blocks (near the neck/shoulder) for upper extremity surgeries and for popilteal

blocks (in the knee) for lower extremity surgeries. I often have surgeons expressly request that I

use liposomal bupivacaine because of the positive results it provides.

       3.        As a member of the American Society of Anesthesiologists, I received a copy of

the February 2021 journal, Anesthesiology. That issue contained several articles that were

critical of liposomal bupivacaine when used as a nerve blocking agent. When I reviewed these

articles after receiving them, I was surprised and troubled by their conclusions, which were

contrary to my own clinical experience when using the drug in my patient treatment plan.
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       4.      One article, titled Perineural Liposomal Bupivacaine Is Not Superior to

Nonliposomal Bupivacaine for Peripheral Nerve Block Analgesia, authored by Dr. Nasir Hussain

and others, was particularly concerning. As I reviewed it, I was struck by the apparent selection

bias of the authors in the articles they chose to review as part of their analysis. Even though, to

my knowledge, there are over a hundred studies on the use of liposomal bupivacaine, the authors

narrowed their review to only nine studies. I observed that they excluded all studies that

pertained to the more common use of liposomal bupivacaine, such as for interscalene and

popliteal nerve blocks, instead focusing on more uncommon uses of the drug. The authors also

excluded a priori any study that was industry-funded, which is hard to justify. Many studies of

pharmaceutical drugs are industry-funded, especially for new drugs. After reading this article, I

was left with a clear sense that the authors made an unbalanced selection of trials in order to

arrive at a predetermined negative result. I cannot recall ever seeing a review article so severely,

and apparently selectively, pare down the universe of studies included for review and exclude

studies that contradict what appear to be a predetermined result.

       5.      Since my initial review of the articles, I have also learned that at least some of the

authors of a second article, titled Clinical Effectiveness of Liposomal Bupivacaine Administered

by Infiltration or Peripheral Nerve Block to Treat Postoperative Pain, failed to disclose financial

conflicts of interests. As noted above, I do not discount studies simply due to a potential

financial conflict of interest. But if an author appears to deliberately omit a financial conflict of

interest, I consider that to be an ethical breach and would have concerns about the integrity of the

study design and conclusions.

       6.      In my experience, these Anesthesiology publications, which were critical of

liposomal bupivacaine, are having a material impact on the use of the drug. There are nine other

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anesthesiologists in my group, and they have recently significantly reduced their use of

liposomal bupivacaine because of the articles.

       7.       As a practitioner who relies on liposomal bupivacaine in his treatment of patients

and firmly believes in the benefits it offers, I am gravely concerned that these articles will

needlessly impair the use of liposomal bupivacaine in treatment care plans and patient care to the

detriment of patient outcome and satisfaction.




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